Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 1 of 14 PagelD: 1411

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: BANK OF NOVA SCOTIA
SPOOFING LITIGATION

Civil Action No. 3:20-11059 (MAS) (RLS)

ORDER PRELIMINARILY APPROVING PROPOSED SETTLEMENT, SCHEDULING
HEARING FOR FINAL APPROVAL THEREOF, AND
APPROVING THE PROPOSED FORM AND PROGRAM OF NOTICE TO THE CLASS

Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 2 of 14 PagelD: 1412

Plaintiffs Casey Sterk, Kevin Maher, Jeffery Tomasulo, Christopher DePaoli, Don Tran,
Mark Serri, ML Options Trading, LLC, Robert Charles Class A, L.P., and Port 22, LLC
(collectively, “Class Plaintiffs”) and the Settlement Class, having applied for an order
preliminarily approving the proposed settlement (“Settlement”) of this Action against Defendants
Bank of Nova Scotia, Scotia Capital (USA) Inc., Scotia Holdings (US), Inc., and The Bank of
Nova Scotia Trust Company of New York (collectively, “BNS”), and Corey Flaum (“Flaum” and
together with BNS, “Defendants”) in accordance with the Stipulation and Agreement of Settlement
entered into on November 2, 2022 (the “Settlement Agreement”) between Class Plaintiffs and
Defendants; the Court having read and considered the Settlement Agreement and accompanying
documents; and Class Plaintiffs and Defendants (collectively, the “Parties”) having consented to
the entry of this Order,

NOW, THEREFORE, on this 12th day of May, 2023, upon application of the Parties,

IT IS HEREBY ORDERED that:

1. Except for the terms expressly defined herein, the Court adopts and incorporates
the definitions in the Settlement Agreement for the purposes of this Order.

2. The Court finds that it has subject matter jurisdiction to preliminarily approve the
Settlement Agreement, including all exhibits thereto, and the Settlement contained therein under
28 U.S.C. §1331, and that it has personal jurisdiction over Class Plaintiffs and Defendants (in this
Action only and for purposes of this Settlement only), and all Class Members.

3. Solely for purposes of the Settlement, the Settlement Class is hereby preliminarily
certified and maintained as a class action, pursuant to Rule 23 of the Federal Rules of Civil

Procedure. The Court finds that the applicable provisions of Rules 23(a) and 23(b)(3) of the
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 3 of 14 PagelD: 1413

Federal Rules of Civil Procedure have been satisfied and that the Court will likely be able to
approve the Settlement and certify the Settlement Class for purposes of judgment. The Settlement
Class is defined as:

All persons and entities that purchased or sold any COMEX Gold Futures contract,

COMExX Silver Futures contract, NYMEX Platinum Futures contract, or NYMEX

Palladium Futures contract (together “Precious Metals Futures”), or any option on

those futures contracts (“Options on Precious Metals Futures”), during the period

of at least January 1, 2008 through at least July 31, 2016 (the “Class Period”).

Excluded from the Class are Defendants, their officers and directors, management,

employees, subsidiaries, and affiliates. Also excluded from the Class is the Judge

presiding over this Action, his or her law clerks, spouse, any other person within

the third degree of relationship living in the Judge’s household, the spouse of such

person, and the U.S. government.

4, The Court hereby appoints Scottt+Scott Attorneys at Law LLP, Nussbaum Law
Group, P.C., Robbins Geller Rudman & Dowd LLP, and Korein Tillery LLC as Class Counsel to
such Settlement Class for purposes of the Settlement, having determined that the requirements of
Rule 23(g) of the Federal Rules of Civil Procedure are fully satisfied by this appointment.

5. The Court appoints A.B. Data, Ltd. as Settlement Administrator for purposes of
the Settlement.

6. Class Plaintiffs are hereby appointed as representatives of the Settlement Class.

7. A hearing will be held on a date of the Court’s convenience on or after

November 6, 2023 at 11:00 a.m. in Courtroom 5W of this Courthouse before the undersigned,

to consider the fairness, reasonableness, and adequacy of the Settlement (the “Fairness
Hearing”). The foregoing date, time, and place of the Fairness Hearing shall be set forth in the
Class Notice, which is ordered herein, but shall be subject to adjournment or change by the Court
without further notice to the Class Members, other than that which may be posted at the Court

or on the Settlement website at www.bankofnovascotiaspoofingsettlement.com.
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 4 of 14 PagelD: 1414

8. The Court reserves the right to approve the Settlement at or after the Fairness
Hearing with such modifications as may be consented to by the Parties and without further notice
to the Settlement Class.

9. The terms of the Settlement Agreement are hereby preliminarily approved. The
Court finds that the Settlement was entered into at arm’s length by experienced, well-informed
counsel and is sufficiently within the range of reasonableness, fairness, and adequacy, and that the
notice of the Settlement should be given as provided in this Order because the Court will likely be
able to approve the Settlement under Rule 23(e)(2) of the Federal Rules of Civil Procedure. The
terms of the Distribution Plan, the Supplemental Agreement, and the Proof of Claim and Release
also are preliminarily approved as within the range of reasonableness, fairness, and adequacy.

10. All proceedings in this Action as to Defendants, other than such proceedings as
may be necessary to implement the proposed Settlement or to effectuate the terms of the Settlement
Agreement, are hereby stayed and suspended until further order of this Court.

11. All Class Members and their legally authorized representatives, unless and until
they have submitted a valid request for exclusion from the Settlement Class (hereinafter, “Request
for Exclusion”), are hereby preliminarily enjoined: (1) from filing, commencing, prosecuting,
intervening in, or participating as a plaintiff, claimant, or class member in any other lawsuit or
administrative, regulatory, arbitration, or other proceeding in any jurisdiction based on the
Released Claims; (ii) from filing, commencing, or prosecuting a lawsuit or administrative,
regulatory, arbitration, or other proceeding as a class action on behalf of any Class Members
(including by seeking to amend a pending complaint to include class allegations or seeking class

certification in a pending action), based on the Released Claims; and (iii) from attempting to effect
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 5 of 14 PagelD: 1415

an opt-out of a group, class, or subclass of individuals in any lawsuit or administrative, regulatory,
arbitration, or other proceeding based on the Released Claims.

12. Within forty-five (45) days after entry of this Order, the Settlement Administrator
shall cause copies of the mailed notice, in the form (without material variation) of Exhibit C to
the Settlement Agreement attached as Exhibit 1 to the Declaration of James Cecchi, dated
November 2, 2022 (“Cecchi Decl.”), to begin being mailed by United States first class mail,
postage prepaid, as described in the proposed notice program attached to the Declaration of
Elaine Pang, dated November 2, 2022 (“Pang Decl.”), Ex. B. The foregoing mailings shall be
completed no later than sixty (60) days after the date of the entry of this Order.

13. Within forty-five (45) days after entry of this Order, the Settlement

Administrator shall cause to be published a publication notice, without material variation from
Exhibit D to the Settlement Agreement attached as Exhibit 1 to the Cecchi Decl., as described in
the proposed notice program attached to the Pang Decl. Pang Decl., Ex. B. All reasonable
Notice and Administration Costs up to $500,000 shall be paid as set forth in the Settlement
Agreement without further order of the Court. Any Notice and Administration Costs in excess of
$500,000 may be paid from the Settlement Fund only with the approval of the Court.

14. The Settlement Administrator shall maintain a Settlement website,
www.bankofnovascotiaspoofingsettlement.com, beginning on the first date of mailing notice to
the Class and remaining until the termination of the administration of the Settlement. The
website shall include copies of the Settlement Agreement (including exhibits), this Order, the
mailed and publication notices, the motion for preliminary approval and all exhibits attached
thereto, and the Distribution Plan, and shall identify important deadlines and provide answers to
frequently asked questions. The website may be amended as appropriate during the course of the

administration of
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 6 of 14 PagelD: 1416

the Settlement. The Settlement website, www.bankofnovascotiaspoofingsettlement.com, shall be
searchable on the Internet.

15. The Settlement Administrator shall maintain a toll-free interactive voice response
telephone system containing recorded answers to frequently asked questions, along with an option
permitting callers to speak to live operators or to leave messages in a voicemail box.

16. The Court approves, in form and substance, the mailed notice, the publication
notice, and the website as described herein. The Class Notice plan specified herein: (1) is the best
notice practicable; (ii) is reasonably calculated, under the circumstances, to apprise Class Members
of the pendency and status of this Action and of their right to object to or exclude themselves from
the proposed Settlement; (iii) is reasonable and constitutes due, adequate, and sufficient notice to
all persons entitled to receive notice of the Fairness Hearing; and (iv) fully satisfies all applicable
requirements of Rule 23 of the Federal Rules of Civil Procedure, Due Process, and any other
applicable rules or laws.

17, At least sixty-five (65) days prior to the Fairness Hearing, the Settlement
Administrator shall serve and file a sworn statement attesting to compliance with the notice
provisions in paragraphs 12-15 of this Order.

18. Any Class Member and any governmental entity that objects to the fairness,
reasonableness, or adequacy of any term or aspect of the Settlement, the application for attorneys’
fees and expenses, or the Final Approval Order and Final Judgment, or who otherwise wishes to
be heard or intervene, may appear in person or by his or her attorney at the Fairness Hearing and
present evidence or argument that may be proper and relevant. However, except for good cause
shown, no person other than Class Counsel and counsel for Defendants shall be heard and no

papers, briefs, pleadings, or other documents submitted by any Class Member or any governmental
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 7 of 14 PagelD: 1417

entity shall be considered by the Court unless, not later than forty-five (45) days prior to the
Fairness Hearing, the Class Member or the governmental entity files with the Court (and serves
the same on or before the date of such filing by hand or overnight mail on Class Counsel and
counsel of record for Defendants) a statement of the objection, as well as the specific legal and
factual reasons for each objection, including all support that the objecting Class Member or the
governmental entity wishes to bring to the Court’s attention and all evidence the objecting Class
Member or governmental entity wishes to introduce in support of his, her, or its objection or
motion. Such submission must contain: (1) a heading that refers to this Action by case name and
case number; (2) a statement of the specific legal and factual basis for each objection or
intervention argument, including whether the objection applies only to the objecting person, a
specific subset of the Class or the entire Class; (3) a statement of whether the objecting person or
entity intends to appear at the Fairness Hearing, either in person or through counsel and, if through
counsel, a statement identifying that counsel by name, address, telephone number, and e-mail
address; (4) a description of any and all evidence the objecting person or entity may offer at the
Fairness Hearing, including but not limited to the names, addresses, and expected testimony of any
witnesses; all exhibits intended to be introduced at the Fairness Hearing; and documentary proof
of the objecting person’s membership in the Settlement Class; (5) a description of the Precious
Metals Futures or Options on Precious Metals Futures transactions entered into by the Class
Member that fall within the Settlement Class definition (including, for each transaction, the
identity of the broker, the date of the transaction, the type of the transaction, the counterparty (if
any), any transaction identification numbers, the rate, and the notional amount of the transaction);

and (6) a list of other cases in which the objector or counsel for the objector has appeared either as
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 8 of 14 PagelD: 1418

an objector or counsel for an objector in the last five years. Persons who have timely submitted a
valid Request for Exclusion are not Class Members and are not entitled to object.

19. Any objection to the Settlement submitted by a Class Member pursuant to
paragraph 18 of this Order must be signed by the Class Member (or his, her, or its legally
authorized representative), even if the Class Member is represented by counsel. The right to object
to the proposed Settlement must be exercised individually by a Class Member or the Person’s
attorney, and not as a member of a group, class, or subclass, except that such objections and
motions to intervene may be submitted by a Class Member’s legally authorized representative.

20. All objectors shall make themselves available to be deposed by any Party in the
District of New Jersey or the county of the objector’s residence or principal place of business
within (7) days of service of the objector’s timely written objection.

21. Any Class Member or governmental entity that fails to object in the manner
described in paragraphs 18-20 of this Order shall be deemed to have waived the right to object
(including any right of appeal) and shall be forever barred from raising such objection in this or
any other action or proceeding related to or arising out the Settlement. Discovery concerning any
purported objections to the Settlement and any purported motions to intervene shall be completed
no later than fourteen (14) days before the Fairness Hearing. Class Counsel, BNS’s counsel,
Flaum’s counsel, and any other Persons wishing to oppose timely-filed objections in writing may
do so not later than five (5) days before the Fairness Hearing.

22. Any Request for Exclusion from the Settlement by a Class Member must be sent in
writing by U.S. first class mail or courier service (or, if sent from outside the U.S., by a service
that provides for guaranteed delivery within five (5) or fewer calendar days of mailing) to the

Settlement Administrator at the address in the mailed notice and received no later than forty-five
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 9 of 14 PagelD: 1419

(45) days before the Fairness Hearing (the “Exclusion Bar Date”). Any Request for Exclusion
must contain the following information:

(a) the name, address, and telephone number of the Person or entity seeking
exclusion, and in the case of entities, the name and telephone number of the
appropriate contact person;

(b) a statement that such Person or entity requests to be excluded from the
Settlement Class in this Action Uu re Bank of Nova Scotia Spoofing Litig.,
3:20-cv-11059 (MAS) (RLS) (D.N.J.)); and

(c) documents sufficient to prove membership in the Settlement Class, as well
as proof of authorization to submit the Request for Exclusion if submitted
by an authorized representative. Class Members seeking to exclude
himself, herself or itself from the Settlement Class will be requested to
provide either: (i) documentation evidencing eligible trading in Precious
Metals Futures and Options on Precious Metals Futures during the Class
Period (including contract traded, date(s) and price(s) at which position
acquired and subsequently closed out, and trade volume), or (11) such Class
Member’s tag50 ID(s) and an executed waiver and request to the CME
Group to unmask such Class Member’s account information for
verification.

23. Any Request for Exclusion from the Settlement submitted by a Class Member
pursuant to paragraph 22 of this Order must be signed by the Class Member (or his, her, or its
legally authorized representative) and notarized, even if the Class Member is represented by
counsel. The right to be excluded from the proposed Settlement must be exercised individually by
a Class Member or his, her, or its attorney, and not as a member of a group, class, or subclass,
except that a Request for Exclusion may be submitted by a Class Member’s legally authorized
representative. A Request for Exclusion shall not be effective unless it provides all of the required
information listed in paragraph 22 of this Order, complies with this paragraph 23, and is received
by the Exclusion Bar Date, as set forth in the Class Notice. The Parties may seek discovery,

including by subpoena, from any Class Member who submits any Request for Exclusion limited

to information the Parties require for purposes of determining whether the confidential provision
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 10 of 14 PagelD: 1420

setting forth certain conditions under which the Settlement may be terminated if potential Class
Members who meet certain criteria exclude themselves from the Settlement Class has been
triggered.

24. | Any Class Member who does not submit a timely and valid written Request for
Exclusion from the Settlement Class shall be bound by all proceedings, orders, and judgments in
the Action, even if the Class Member has previously initiated or subsequently initiates individual
litigation or other proceedings encompassed by the Released Claims, and even if such Class
Member never received actual notice of the Action or the proposed Settlement.

25. The Settlement Administrator shall promptly log each Request for Exclusion that
it receives and provide copies of the log to Class Counsel and counsel for Defendants as requested.

26. The Settlement Administrator shall furnish Class Counsel and counsel for
Defendants with copies of any and all objections, motions to intervene, notices of intention to
appear, and other communications that come into its possession (except as otherwise expressly
provided in the Settlement Agreement) within one (1) Business Day of receipt thereof.

27. Within five (5) Business Days following the Exclusion Bar Date, the Settlement
Administrator shall prepare an opt-out list identifying all Persons, if any, who submitted a timely
and valid Request for Exclusion from the Settlement Class, as provided in the Settlement
Agreement, and an affidavit attesting to the accuracy of the opt-out list. The Settlement
Administrator shall provide counsel for Defendants and Class Counsel with copies of any Requests
for Exclusion (including all documents submitted with such requests) and any written revocations
of Requests for Exclusion as soon as possible after receipt by the Settlement Administrator and, in
any event, within one (1) Business Day after receipt by the Settlement Administrator and, in no

event, later than five (5) Business Days after the Exclusion Bar Date. Class Counsel shall file the

10
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 11 of 14 PagelD: 1421

opt-out list and affidavit of the Settlement Administrator attesting to the accuracy of such list with
the Court.

28. All Proofs of Claim and Release shall be submitted by Class Members to the
Settlement Administrator as directed in the mailed notice and must be postmarked no later than
thirty (30) days after the Fairness Hearing.

29. To effectuate the Settlement and the notice provisions, the Settlement
Administrator shall be responsible for: (a) establishing a P.O. Box (to be identified in the mailed
notice and the publication notice), a toll-free interactive voice response telephone system and call
center, and a website for the purpose of communicating with Class Members; (b) effectuating the
Class Notice plan, including by running potential Class Members’ addresses through the National
Change of Address Database to obtain the most current address for each person; (c) accepting and
maintaining documents sent from Class Members, including Proofs of Claim and Release, and
other documents relating to the Settlement and its administration; (d) administering claims for
allocation of funds among Class Members; (e) determining the timeliness of each Proof of Claim
and Release submitted by Class Members, and the adequacy of the supporting documents
submitted by Class Members; (f) corresponding with Class Members regarding any deficiencies
in their Proofs of Claim and Release and regarding the final value of any allowed claim; (g)
calculating each Authorized Claimant’s allowed claim pursuant to the Distribution Plan; (h)
determining the timeliness and validity of all Requests for Exclusion received from Class
Members; (i) preparing the opt-out list and an affidavit attaching and attesting to the accuracy of
such list, and providing same to Class Counsel and counsel for Defendants; and (j) providing Class
Counsel and counsel for Defendants with copies of any Requests for Exclusion (including all

documents submitted with such requests).

11
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 12 of 14 PagelD: 1422

30. The Settlement Administrator shall maintain a copy of all paper communications
related to the Settlement for a period of one (1) year after distribution of the Net Settlement Fund
defined in the Settlement Agreement (“Net Settlement Fund”), and shall maintain a copy of all
electronic communications related to the Settlement for a period of three (3) years after distribution
of the Net Settlement Fund, after which time all such materials shall be destroyed, absent further
direction from the Parties or the Court.

31. The Court preliminarily approves the establishment of the Settlement Fund defined
in the Settlement Agreement (the “Settlement Fund”) as a qualified settlement fund pursuant to
Section 468B of the Internal Revenue Code of 1986, as amended, and the Treasury Regulations
promulgated thereunder.

32. The Court appoints The Huntington National Bank to act as Escrow Agent for the
Settlement Fund.

33. Neither the Settlement Agreement (nor any of its exhibits), whether or not it shall
become Final, nor any negotiations, documents, and discussions associated with it, nor the Final
Approval Order and Final Judgment, are or shall be deemed or construed to be an admission,
adjudication, or evidence of: (a) any violation of any statute or law or of any liability or
wrongdoing by the Defendants or any Released Party; (b) the truth of any of the claims or
allegations alleged in the Action; (c) the incurrence of any damage, loss, or injury by any Person;
(d) the existence or amount of any manipulation of the market for Precious Metals Futures or
Options on Precious Metals Futures and the prices of Precious Metals Futures or Options on
Precious Metals Futures; or (e) the propriety of certification of a class other than solely for
purposes of the Settlement. Further, neither the Settlement Agreement (including its exhibits),

whether or not it shall become Final, nor any negotiations, documents, and discussions associated

12
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 13 of 14 PagelD: 1423

with it, nor the Final Approval Order and Final Judgment, may be discoverable or used directly or
indirectly, in any way, whether in the Action or in any other action or proceeding of any nature,
whether by the Settlement Class or any Person, except if warranted by existing law in connection
with a dispute under the Settlement Agreement or an action in which such documents are asserted
as a defense. All rights of Defendants and Class Plaintiffs are reserved and retained if the
Settlement does not become Final in accordance with the terms of the Settlement Agreement.

34. Class Counsel shall file their motions for payment of attorneys’ fees and
reimbursement of expenses, service awards, and for final approval of the Settlement at least sixty
(60) days prior to the Fairness Hearing.

35. If the Settlement is approved by the Court following the Fairness Hearing, a Final
Approval Order and Final Judgment will be entered as described in the Settlement Agreement.

36. The Court may, for good cause, extend any of the deadlines set forth in this Order
without notice to Class Members, other than that which may be posted at the Court or on the
Settlement website, www.bankofnovascotiaspoofingsettlement.com.

37. Inthe event that the Settlement is terminated in accordance with its provisions, such
terminated Settlement Agreement and all proceedings had in connection therewith, including but
not limited to all negotiations, documents, and discussions associated with it, and any Requests for
Exclusion from the Settlement previously submitted and deemed to be valid and timely, shall be
null and void and be of no force and effect, except as expressly provided to the contrary in the
Settlement Agreement, and shall be without prejudice to the status quo ante rights of the Parties.

Within ten (10) days following any notice of termination being delivered to the Escrow Agent, the
Settlement Fund shall be returned in its entirety to BNS (including any accrued interest thereon),

less any taxes due and expenditures made of notice and administrative costs. At the request of

13
Case 3:20-cv-11059-MAS-RLS Document 84 Filed 05/12/23 Page 14 of 14 PagelD: 1424

BNS’s counsel, the Escrow Agent shall apply for any tax refund owed on the Settlement Fund and
pay the proceeds to BNS.

38. Ifthe Settlement is terminated or is ultimately not approved, the Court will modify
any existing scheduling order to ensure that the Parties will have sufficient time to prepare for the
resumption of litigation.

39, Unless otherwise specified, the word “days,” as used herein, means calendar days.
In the event that any date or deadline set forth herein falls on a weekend or federal or state legal

holiday, such date or deadline shall be deemed moved to the first Business Day thereafter.

IT IS SO ORDERED
Signed this 12th day of May, 2023, at the Courthouse for the United States District Court

for the District of New Jersey.

MES ht gerd
The Honorable Michiel A. Shipp
United States District Court Judge

14
